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                                                                            FILED IN THE
                                                                        U.S. DISTRICT COURT
1                                                                 EASTERN DISTRICT OF WASHINGTON




2
                                                                   Jun 24, 2021
                                                                       SEAN F. MCAVOY, CLERK



3                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                 No. 4:20-CR-06044-SMJ-1
5
                             Plaintiff,
6                                              ORDER REGARDING SCHEDULE
                v.                             FOR SENTENCING
7
     CRUZ JAMES SPENCER,
8
                             Defendant.
9

10        On this day, Defendant, accompanied by his attorney, Nicholas Wright

11   Marchi and, appeared and pleaded guilty or was found guilty in this matter.

12   Assistant United States Attorney Michael Davis Murphy represented the

13   Government.

14        Accordingly, IT IS HEREBY ORDERED:

15        1.    A sentencing hearing in this matter is SET for October 7, at 11:30

16              A.M. in Richland.

17        2.    If the Court imposes a sentence of incarceration, Defendant shall be

18              placed in custody at the time of sentencing. Pending sentencing,

19              Defendant’s detention status or release status shall remain pursuant to

20              this court’s previous order.




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1        3.    Sentencing will be scheduled for a total of forty-five (45) minutes. If

2              it is believed that the sentencing hearing will last longer, counsel

3              shall contact Chambers within fourteen (14) days of disclosure of the

4              presentence investigation report.

5        4.    The United States Probation Office shall prepare a timely presentence

6              investigation report that will comply with the following schedule:

7              A.    Not less than thirty-five (35) days prior to the sentencing

8                    hearing, the probation officer shall disclose the presentence

9                    investigation report to the Defendant, counsel for Defendant,

10                   and the Government.

11             B.    Within fourteen (14) days of the disclosure of the presentence

12                   investigation report, counsel shall file with the Court and

13                   communicate in writing to the probation office any objections

14                   they may have as to factual errors or omissions; sentencing

15                   classifications; sentencing guideline ranges; and policy

16                   statements contained in or omitted from the report.        Such

17                   communication may be oral initially but shall immediately be

18                   confirmed in writing to the probation officer and opposing

19                   counsel.

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1              C.         Also within fourteen (14) days of disclosure of the

2                         presentence investigation report, counsel shall file and serve all

3                         motions and memoranda pertaining to Defendant’s sentence,

4                         including motions for downward or upward departures.

5                     i.        Counsel shall utilize the following format when

6                               preparing initial memoranda which are limited to twenty

7                               pages (absent prior Court permission to file an

8                               overlength    brief):       I.   Base   Offense   Level      &

9                               Enhancements, II. Departures, III. 18 U.S.C. 3553(a).

10                   ii.        Under the “Base Offense Level & Enhancements”

11                              section, counsel shall discuss whether the PSIR’s Total

12                              Offense Level calculations (not including departures) are

13                              correct or incorrect, providing legal authority for the

14                              party's position.

15                  iii.        Under the “Departure” section, counsel shall discuss

16                              whether a downward and/or upward departure is

17                              warranted under the Guidelines and provide legal

18                              authority for such position.

19                  iv.         Under the “18 U.S.C. 3553(a)” section, counsel shall

20                              discuss whether the resulting guideline range provides a




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1                               reasonable sentence sufficient, but not greater than

2                               necessary, to comply with the purposes set forth in 18

3                               U.S.C. 3553(a)(2), considering the other factors listed in

4                               3553(a).

5                   v.          The parties are limited to one reply of no more than 7

6                               pages. No other pleadings are allowed without advance

7                               permission of the Court.

8                   vi.         FAILURE TO FILE AND SERVE A MOTION FOR

9                               DOWNWARD DEPARTURE WITHIN 14 DAYS

10                              OF      RECEIPT        OF     THE       PRESENTENCE

11                              INVESTIGATION REPORT WILL BE DEEMED A

12                              WAIVER OF THE RIGHT TO DO SO. The time

13                              frame for filing and serving responses to such motions

14                              shall be governed by Local Criminal Rule 45.          Any

15                              request with regard to self-reporting shall be made to the

16                              probation office at the same time any objections/motions

17                              are filed.

18             D.         After receiving counsel's objections, the probation officer shall

19                        conduct any further investigation and make any revisions to

20                        the presentence report that may be necessary. The probation




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1                    officer may require counsel for both parties to meet with the

2                    officer to discuss unresolved factual and legal issues, and

3                    counsel shall make themselves available for that purpose.

4              E.    At least ten (10) days prior to the date of the sentencing

5                    hearing the probation officer shall submit the presentence

6                    report to the sentencing judge.            The report shall be

7                    accompanied by an addendum setting forth any objections

8                    counsel may have made, including those that have not been

9                    resolved,    together    with   the   officer’s   comments   and

10                   recommendations thereon. The probation officer shall certify

11                   that the contents of the report other than sentencing

12                   recommendations, including any revisions or addenda, have

13                   been disclosed to counsel for Defendant and the Government,

14                   and that the addendum fairly states any remaining objections.

15       5.    Except with regard to any written objection, the report of the

16             presentence investigation and computations shall be accepted by the

17             Court as accurate. For good cause shown, however, the court may

18             allow a new objection to be raised at any time before the imposition

19             of sentence.    In resolving disputed issues of fact, the court may

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1                  consider any reliable information presented by the probation officer,

2                  Defendant, or the Government.

3            6.    Nothing in this rule requires the disclosure of any portions of the

4                  presentence report that are not disclosable under Rule 32 of the

5                  Federal Rules of Criminal Procedure.

6            7.    The presentence report shall be deemed to have been disclosed (1)

7                  when a copy of the report is physically delivered; or (2) one day after

8                  the availability of the report for inspection is orally communicated; or

9                  (3) three days after a copy of the report, or notice of its availability is

10                 mailed to counsel, whichever date is earlier.

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1          8.    Following sentencing, Defendant shall be taken into the custody of

2                the United States Marshal Service unless (1) Defendant has been

3                released prior to sentencing, (2) Defendant specifically requests the

4                opportunity to self-report, and (3) Defendant demonstrates that he is a

5                candidate for self-reporting. If Defendant requests the opportunity to

6                self-report, Defendant must demonstrate the financial ability to travel

7                to a facility on the East Coast.

8          IT IS SO ORDERED. The Clerk’s Office is directed to enter this order

9    and to provide copies to counsel, the U.S. Probation Office, and the U.S. Marshals

10   Service.

11         DATED this 24th day of June 2021.

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                        _________________________
13                      SALVADOR MENDOZA, JR.
                        United States District Judge
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